                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

VIACOM INTERNATIONAL INC.,                  §
                                            §
       Plaintiff                            §
                                            §       C.A. No. 4:16-cv-00257
V.                                          §       Jury Trial Demanded
                                            §
IJR CAPITAL INVESTMENTS, LLC,               §
                                            §
       Defendant                            §

                 DEFENDANT IJR CAPITAL INVESTMENTS, LLC’S
                COMBINED MOTION FOR AN EXTENSION OF TIME
                   TO FILE A SUMMARY JUDGMENT MOTION
              AND MOTION FOR SUMMARY JUDGMENT OUT OF TIME

	     Defendant moves this honorable Court for an extension of time to file this summary

judgment motion on all counts pending in this action. The Court’s deadline for filing dispositive

motions was September 30, 2016. However, upon receiving and having an opportunity to review

Plaintiff’s motion for summary judgment on all but one pending count, Defendant’s counsel now

believes that this case is entirely resolvable by summary judgment decided by this Court and that

a trial should not be necessary.

       Consequently in the interest of judicial efficiency and in an effort to make defending this

lawsuit as economical as reasonably possible, undersigned counsel humbly requests this

honorable Court to grant her motion for an extension of time to file a motion for summary

judgment on all of Plaintiff’s counts.

       Defendant also thus moves for summary judgment out of time on all counts for the

reasons set forth in the attached memorandum, which also serves as a memorandum in

opposition to Plaintiff’s motion for summary judgment on all but one count.
October 21, 2016                              Respectfully submitted

                                              s/Karen B. Tripp
                                              Karen B. Tripp
                                              Attorney in Charge for Defendant
                                              Texas State Bar No. 03420850
                                              Southern District of Texas No. 2345
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing DEFENDANT IJR
CAPITAL INVESTMENTS, LLC’S COMBINED MOTION FOR AN EXTENSION OF TIME
TO FILE A SUMMARY JUDGMENT MOTION AND MOTION FOR SUMMARY
JUDGMENT OUT OF TIME, and an attached Proposed ORDER were served upon all opposing
parties, or their counsel of record, by first class mail with a courtesy copy via internet on October
21, 2016.

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                                                      ___ s/Karen B. Tripp
                                                      Karen B. Tripp

                             CERTIFICATE OF CONFERENCE

       I conferred with Tyson David Smith, counsel for Plaintiff, on October 21, 2016, and in

that conference I requested his agreement to this intended motion for extension of time to file a

summary judgment motion. He advised that Plaintiff would oppose the extension.

                                                      ___ s/Karen B. Tripp
                                                      Karen B. Tripp
